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              BEFORE THE UNITED STATES JUDICIAL PANEL
                   ON MULTIDISTRICT LITIGATION

IN RE: AME Church Employee
Retirement Fund Litigation                                                       MDL No. 3035

      NOTICE OF PRESENTATION OR WAIVER OF ORAL ARGUMENT –
             PARTIES REPRESENTED AND LIST OF ACTIONS

         Parties Represented-      District    Civil Action       Judge
         Defendants                            No
1.     African Methodist        W.D. Tenn.    2:22-cv-02174   Judge John Fowlkes
       Episcopal Church


2.     African Methodist        W.D. Tenn.    2:22-cv-02136   Judge John Fowlkes
       Episcopal Church


 3.    African Methodist        D. Md.        8:22-cv-00707   Judge Timothy J. Sullivan
       Episcopal Church, Inc.


       African Methodist        E.D. Va.      3:22-cv-00179   Judge David J. Novak
       Episcopal Church


5.     African Methodist        M.D. Fla.     3:22-cv-00375   Judge Brian J. Davis
       Episcopal Church
